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EXHIBIT 2
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Petition for a Nonimmigrant Worker USCIS
Form 1-129
Department of Homeland Security OMB No. 1615-0009
U.S. Citizenship and Immigration Services Expires 12/31/2018
“Partial Approval (explain) Action Block
For,
USCIS

DHS

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U.S. Citizensh: and

Wot
Class: mare Classification Approved ee MAR
No. of Workers: wan Paitin ao Notified Pree
Job Code: Scsb At: Wioaiverren + ~AHAa! SC WATE
Validity Dates: . ——
roms. _s o>? iis] 19 {_]Extension Granted S
To: Ls J cs | 1s (_]COS/Extension Granted :

>» START HERE - Type or print in black ink.
| Part 1. Petitioner Information |

Ifyou are an individual filing this petition, complete Item Number 1. If you are a company or an organization filing this petition,
complete Item Number 2.

1. Legal Name of Individual Petitioner

Family Name (Last Name) Given Name (First Name) Middle Name

If | |
2. Company or Organization Name
|

3. Mailing Address of Individual, Company or Organization

In Care Of Name

|H#-2advisors, LLC . |

Street Number and Name Apt. Ste. Flr. Number

| ave }oOo0| |

City or Town State ZIP Code

: jLs_ || |

Province Postal Code Country

| | [psa |
4. Contact Information

Daytime Telephone Number Mobile Telephone Number Email Address (if any)

| | | gnail.com |

5. Other Information
Federal Employer Identification Number (FEIN) Individual IRS Tax Number U.S. Social Seonrity Rurmber (if ony?

| PeLET TET TTT} LT

Form 1-129 O/L7/17 Y Page | of 36

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| Part 2. Information About This Petition (See instructions for fee information) | 60

1. Requested Nonimmigrant Classification (Write classification symbol): | BOLE :

2. Basis for Classification (select only one box):
a. New employment.
[_] b. Continuation of previously approved employment without change with the same employer.

[-] c. Change in previously approved employment.
[_] d. New concurrent employment.

[_] e. Change of employer.

[] £. Amended petition.

3. Provide the most recent petition/application receipt number for the > | ¥ | “ | rn | 3 | | | | | | | | |
beneficiary. If none exists, indicate "None."

4. Requested Action (select only one box):
a. Notify the office in Part 4. so each beneficiary can obtain a visa or be admitted. (NOTE: A petition is not required for
E-1, E-2, E-3, H-1B1 Chile/Singapore, or TN visa beneficiaries.)

(_] b. Change the status and extend the stay of each beneficiary because the beneficiary(ies) is/are now in the United States in
another status (see instructions for limitations). This is available only when you check "New Employment" in Item
Number 2., above.

[_] ¢. Extend the stay of each beneficiary because the beneficiary(ies) now hold(s) this status.
[_] d. Amend the stay of each beneficiary because the beneficiary(ies) now hold(s) this status.

[-] e. Extend the status of a nonimmigrant classification based on a free trade agreement. (See Trade Agreement Supplement
to Form I-129 for TN and H-1B1.)

[-] f. Change status to a nonimmigrant classification based on a free trade agreement. (See Trade Agreement Supplement to
Form I-129 for TN and H-1B1.)

5. Total number of workers included in this petition. (See instructions relating to > [250
when more than one worker can be included.)

Part 3. Beneficiary Information (Information about the beneficiary/beneficiaries you are filing for. Complete the
blocks below. Use the Attachment-1 sheet to name each beneficiary included in this petition.)

1. Ifan Entertainment Group, Provide the Group Name

L J

2. Provide Name of Beneficiary
Family Name (Last Name) - Given Name (First Name) Middle Name

]| q |

3. Provide all other names the beneficiary has used. Include nicknames, aliases, maiden name, and names from all previous marriages.

Family Name (Last Name) Given Name (First Name) Middle Name

4, Other Information
Date of birth Gender U.S. Social Security Number (if any)

(mmnidalyyyy)[_ | Chmate Chremte {TT TTT TTT |

Form [-129 OI/I7/17 Y Page 2 of 36

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ELS TE TT
Part 3. Beneficiary Information (Information about the beneficiary/beneficiaries you are filing for. Complete the
blocks below. Use the Attachment-1 sheet to name each beneficiary included in this petition.) (continued)

Alien Registration Number (A-Number) Country of Birth

rat TT Tir || J

Province of Birth Country of Citizenship or Nationality

| | | |

5. Ifthe beneficiary is in the United States, complete the following:
Date of Last Arrival (mm/dd/yyyy) 1-94 Arrival-Departure Record Number Passport or Travel Document Number

L PLETE ETT Tey |

Date Passport or Travel Document —_—_Date Passport or Travel Document _ Passport or Travel Document Country

Issued (mm/dd/yyyy) Expires (mm/dd/yyyy) of Issuance

Current Nonimmigrant Status Date Status Expires or D/S

| | (mmv/dd/yyyy) |
Student and Exchange Visitor Information System (SEVIS) Employment Authorization Document (EAD)

Number (if any) Number (if any)

| ||

6. Current Residential U.S. Address (if applicable) (do not list a P.O. Box)

Street Number and Name Apt. Ste. Flr. Number
| jooo| |
City or Town State ZIP Code

| || IL ]

| Part 4. Processing Information |

1. Ifa beneficiary or beneficiaries named in Part 3. is/are outside the United States, or a requested extension of stay or change of
status cannot be granted, state the U.S. Consulate or inspection facility you want notified if this petition is approved.

a. Type of Office (select only one box): Consulate [_] Pre-flight inspection [_] Port of Entry
~ b. Office Address (City) c. U.S. State or Foreign Country

L | | WAR Ki co |

vw
d. Beneficiary's Foreign Address

Street Number and Name Apt.Ste. Flr. Number
L }oo00| |
City or Town — State

| |

Province Postal Code Country

| || ||

2. Does each person in this petition have a valid passport? Yes [[] No. Ifno, go to Part 9. and type or print your
explanation.

/

Form 1-129 OWV/I7/17. ¥ Page 3 ey]
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[Part 4. Processing Information (continued) |

3. Are you filing any other petitions with this one?

(] Yes. Ifyes, how many? » [sr] No

4. Are you filing any applications for replacement/initial 1-94, Arrival-Departure Records with this petition? Note that if the
beneficiary was issued an electronic Form 1-94 by CBP when he/she was admitted to the United States at an air or sea port, he/
she may be able to obtain the Form I-94 from the CBP Website at www.cbp.gov/i94 instead of filing an application for a
replacement/initial I-94.

{_] Yes. If yes, how many? > No

5. Are you filing any applications for dependents with this petition?
[_] Yes. If yes, how many? >

[x] No

6. Is any beneficiary in this petition in removal proceedings?
[_] Yes. Ifyes, proceed to Part 9. and list the beneficiary’s(ies) name(s). No

7. Have you ever filed an immigrant petition for any beneficiary in this petition?

LJ Yes. If yes, how many? & [i No
8. Did you indicate you were filing a new petition in Part 2.7
["] Yes. If yes, answer the questions below. [_] No. Ifno, proceed to Item Number 9.

a. Has any beneficiary in this petition ever been given the classification you are now requesting within the last seven years?
[_] Yes. If yes, proceed to Part 9. and type or print your explanation. [_] No

b. Has any beneficiary in this petition ever been denied the classification you are now requesting within the last seven years?
[] Yes. Ifyes, proceed to Part 9. and type or print your explanation. [] No

9. Have you ever previously filed a nonimmigrant petition for this béneficiary?
[_] Yes. Ifyes, proceed to Part 9, and type or print your explanation. No

10. Ifyou are filing for an entertainment group, has any beneficiary in this petition not been with the group for at least one year?
[_] Yes. If yes, proceed to Part 9. and type or print your explanation. No

1l.a. Has any beneficiary in this petition ever been a J-1 exchange visitor or J-2 dependent of a J-1 exchange visitor?
[_] Yes. If yes, proceed to Item Number 11.b. No

11.b. If you checked yes in Item Number 11.a., provide the dates the beneficiary maintained status as a J-1 exchange visitor or J-2
dependent. Also, provide evidence of this status by attaching a copy of either a DS-2019, Certificate of Eligibility for Exchange
Visitor (J-1) Status, a Form IAP-66, or a copy of the passport that includes the J visa stamp.

|

| Part 5. Basic Information About the Proposed Employment and Employer |
Attach the Form 1-129 supplement relevant to the classification of the worker(s) you are requesting.
1. Job Title / 2. LCA or ETA Case Number

[Farmworker (| — [n-300-19028-907991 / |

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| Part 5. Basic Information About the Proposed Employment and Employer (continued) |

3. Address where the beneficiary(ies) will work if different from address in Part 1.

Street Number and Name Apt. Ste. Flr. Number
L Ra }oOo0o0 [ |
/ City or Town : State ZIP Code
L_ : Jia J J
4, Did you include an itinerary with the petition? : Yes [_] No
5. Will the beneficiary(ies) work for you off-site at another company or organization's location? [_] Yes No

6. Will the beneficiary(ies) work exclusively in the Commonwealth of the Northern Mariana Islands (CNMI)? [_] Yes No

7. Is this a full-time position? Yes [_] No
8. Ifthe answer to Item Number 7. is no, how many hours per week for the position? > |
9. Wages: §$ [a2 .13 / | per (Specify hour, week, month, or year) > [Hour |

10. Other Compensation (Explain)
50.50 per pound to hand pick blueberries
S100 per hale to rake, gather, clean, and hale pine straw

L.
11. Dates of intended employment From: (mm/dd/yy) {03/15/2019 / | To: (mmvdd/yyyy)]11/15/2019 |

12. Type of Business 13. Year Established
[Agricultural | | |
14. Current Number of Employees in the United States 1S. Gross Annual Income 16. Net Annual Income

L | it | | J

Part 6. Certification Regarding the Release of Controlled Technology or Technical Data to Foreign
Persons in the United States

(This section of the form is required only for H-1B, H-1B1 Chile/Singapore, L-1, and O-1A petitions. It is not required for any other
classifications. Please review the Form I-129 General Filing Instructions before completing this section j)

Select Item Number 1. or Item Number 2. as appropriate. DO NOT select both boxes.
With respect to the technology or technical data the petitioner will release or otherwise provide access to the beneficiary, the petitioner

certifies that it has reviewed the Export Administration Regulations (EAR) and the International Traffic in Arms Regulations (ITAR)
and has determined that:

1. [_] A license is not required from either the U.S. Department of Commerce or the U.S. Department of State to release such
technology or technical data to the foreign person; or
2. ((] A license is required from the U.S. Department of Commerce and/or the U.S. Department of State to release such technology

or technical data to the beneficiary and the petitioner will prevent access to the controlled technology or technical data by the
beneficiary until and unless the petitioner has received the required license or other authorization to release it to the

beneficiary.

Form 1-129 01/17/17 Y Page 5 of 36
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Part 7. Declaration, Signature, and Contact Information of Petitioner or Authorized Signatory (Read
the information on penalties in the instructions before completing this section.)

Copies of any documents submitted are exact photocopies of unaltered, original documents, and I understand that, as the petitioner, I
may be required to submit original documents to U.S. Citizenship and Immigration Services (USCIS) at a later date.

I authorize the release of any information from my records, or from the petitioning organization's records that USCIS needs to
determine eligibility for the immigration benefit sought. I recognize the authority of USCIS to conduct audits of this petition using
publicly available open source information. I also recognize that any supporting evidence submitted in support of this petition may be
verified by USCIS through any means determined appropriate by USCIS, including but not limited to, on-site compliance reviews.

If filing this petition on behalf of an organization, I certify that I am authorized to do so by the organization.

I certify, under penalty of perjury, that I have reviewed this petition and that all of the information contained in the petition, including
all responses to specific questions, and in the supporting documents, is complete, true, and correct.

1. Name and Title of Authorized Signatory
Family Name (Last Name) Given Name (First Name)

|| 7

[Fue |

2. Signature and Date

Signatgfe of Auttrerized Signatory Date of Signature
mt J immed] 6 3/07 f2e/9]

3. igi ation
Daytime Telephone Number Email Address (if any)

[ TE ca |

NOTE: Ifyou do not fully complete this form or fail to submit the required documents listed in the instructions, a final decision on your
petition may be delayed or the petition may be denied.

Part 8. Declaration, Signature, and Contact Information of Person Preparing Form, If Other Than
Petitioner

Provide the following information concerning the preparer:

1. Name of Preparer
Family Name (Last Name) : Given Name (First Name)
t

JL |

(If applicable, provide the name of your accredited organization recognized by the Board of Immigration Appeals (BIA).)
H-2Advisors, LLC

2. Preparer's Business or Organization Name (if any)

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Part 8. Declaration, Signature, and Contact Information of Person Preparing Form, If Other Than
Petitioner (continued)

3:

Preparer's Mailing Address

Street Number and Name Apt. Ste. Flr. Number
LL ave joo a
City or Town State ZIP Code .
Ls || |
Province Postal Code Country
| [usa |

L AL

Preparer's Contact Information

Daytime Telephone Number Fax Number

Email Address (if any)

L PL

| | @outlook.com |

[Preparer ’s Declaration

—
uf

By my signature, I certify, swear, or affirm, under penalty of perjury, that I prepared this petition on behalf of, at the request of, and
with the express consent of the petitioner or authorized signatory. The petitioner has reviewed this completed petition as prepared by
me and informed me that all of the information in the form and in the supporting documents, is complete, true, and correct.

5.

Signature and Date

Signature of Preparer
a”

Date of Signature .

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(mm/dd/yyyy)| O3 for /26 |

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Form J-129 OI/I7/17 Y

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Department of Homeland Security
U.S. Citizenship and Immigration Services

H Classification Supplement to Form I-129

USCIS

Form I-129
OMB No. 1615-0009
Expires 12/31/2018

1. Name of the Petitioner

|

Name of the beneficiary or if this petition includes multiple beneficiaries, the total number of beneficiaries

2.a. Name of the Beneficiary

[_

OR

2.b. Provide the total number of beneficiaries [250 f

3. List each beneficiary's prior periods of stay in H or L classification in the United States for the last six years (beneficiaries
requesting H-2A or H-2B classification need only list the last three years). Be sure to only list those periods in which each
beneficiary was actually in the United States in an H or L classification. Do not include periods in which the beneficiary was in a

dependent status, for example, H-4 or L-2 status.

NOTE: Submit photocopies of Forms I-94, 1-797, and/or other USCIS issued documents noting these periods of stay in the H or

L classification. (If more space is needed, attach an additional sheet.)

Subject's Name

Period of Stay (mm/dd/yyyy)

From

To

4. Classification sought (select only one box):
a. H-1B Specialty Occupation
b. H-1B1 Chile and Singapore

OO0

Department of Defense (DOD)
d. H-1B3 Fashion model of distinguished merit and ability
e. H-2A Agricultural worker
f. H-2B Non-agricuitural worker
g. H-3 Trainee

OOOO

h. H-3 Special education exchange visitor program

c. H-1B2 Exceptional services relating to a cooperative research and development project administered by the U.S.

5. Are you filing this petition on behalf of a beneficiary subject to the Guam-CNMI cap exemption under Public Law 110-2297

[] Yes No

6. Are you requesting a change of employer and was the beneficiary previously subject to the Guam-CNMI cap exemption under

Public Law 110-2297
[C] Yes No

7.a. Does any beneficiary in this petition have ownership interest in the petitioning organization?

[_] Yes. Ifyes, please explain in Item Number 7.b.

Form [-129 OM/I7/17_ Y H Classification Supplement

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7.b. Explanation

Section 1. Complete This Section If Filing for H-1B Classification |

1. Describe the proposed duties.

2. Describe the beneficiary's present occupation and summary of prior work experience.

Statement for H-1B Specialty Occupations and H-1B1 Chile and Singapore

By filing this petition, I agree to, and will abide by, the terms of the labor condition application (LCA) for the duration of the
beneficiary's authorized period of stay for H-1B employment. I certify that I will maintain a valid employer-employee relationship
with the beneficiary at all times. If the beneficiary is assigned to a position in a new location, 1 will obtain and post an LCA for that
site prior to reassignment.

I further understand that I cannot charge the beneficiary the ACWIA fee, and that any other required reimbursement will be
considered an offset against wages and benefits paid relative to the LCA.

Signature of Petitioner Name of Petitioner Date (mm/dd/yyyy)

m> | II IL |

Statement for H-1B Specialty Occupations and U.S. Department of Defense (DOD) Projects

As an authorized official of the employer, I certify that the employer will be liable for the reasonable costs of return transportation of
the alien abroad if the beneficiary is dismissed from employment by the employer before the end of the period of authorized stay.

Signature of Authorized Official of Employer Name of Authorized Official of Employer Date (mm/dd/yyyy)

Statement for H-1B U.S. Department of Defense Projects Only

I certify that the beneficiary will be working on a cooperative research and development project or a co-production project under a
reciprocal government-to-government agreement administered by the U.S. Department of Defense.

Signature of DOD Project Manager Name of DOD Project Manager Date (mm/dd/yyyy)
| Section 2. Complete This Section If Filing for H-2A or H-2B Classification |

1. Employment is: (select enly one box)
a. Seasonal - [J b. Peak load [_} ¢. Intermittent [_] d. One-time occurrence
2. Temporary need is: (select only one box)

[_] a. Unpredictable [} b. Periodic c. Recurrent annually

Form 1-129 01/17/17 Y H Classification Supplement Page 14 of 36 /

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| Section 2. Complete This Section If Filing for H-2A or H-2B Classification (continued)

Explain your temporary need for the workers’ services (Attach a separate sheet if additional space is needed).

Employer is_an FLC in South GA who needs workers to pick blueberries and rake and

bale pinestraw.

4. List the countries of citizenship for the H-2A or H-2B workers you plan to hire.

a. Mexico : d.
b. Guatemala e,
c. f.

5.a. You must provide all of the requested information for Item Numbers 5.a. - 6. for each H-2A or H-2B worker you plan to hire
who is not from a country that has been designated as a participating country in accordance with 8 CFR 214.2(h)(5)(i)(F)(1) or
214.2(h)(6)(i)(E)C). See www.uscis.gov for the list of participating countries. (Attach a separate sheet if additional space is
needed.) .

Family Name (Last Name) Given Name (First Name) Middle Name

5.b. Provide all other name(s) used
Family Name (Last Name) Given Name (First Name) Middle Name

5.c. Date of Birth (mm/dd/yyyy) 5.d. Country of Birth

5.e. Country of Citizenship or Nationality

6.a. Have any of the workers listed in Item Number 5, above ever been admitted to the United States previously in H-2A/H-2B status?
(J Yes. Ifyes, go to Part 9. of Form I-129 and write your explanation. [[] No

6.b. Visa Classification (H-2A or H-2B): |
NOTE: If any of the H-2A or H-2B workers you are requesting are nationals of a country that is not on the eligible countries
list, you must also provide evidence showing: (1) that workers with the required skills are not available from a country currently
on the eligible countries list*; (2) whether the beneficiaries have been admitted previously to the United States in H-2A or H-2B
status; (3) that there is no potential for abuse, fraud, or other harm to the integrity of the H-2A or H-2B visa programs through
the potential admission of the intended workers; and (4) any other factors that may serve the United States interest.

* For H-2A petitions only: You must also show that workers with the required skills are not available from among United
States workers.

7.a. Did you or do you plan to use a staffing, recruiting, or similar placement service or agent to locate the H-2A/H-2B workers that

you intend to hire by filing this petition?

[] Yes No

If yes, list the name and address of service or agent used below. Please use Part 9. of Form I-129 if you need to include the
name and address of more than one service or agent.

7.b. Name ‘

Form 1-129 OV/17/17. Y H Classification Supplement Page 15 of 36 /

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EI TT

| Section 2. Complete This Section If Fiting for H-2A or H-2B Classification (continued) |

7.c. Address

Street Number and Name Apt. Ste. Flr. Number
joo0 | |
City or Town State ZIP Code

| | |

8.a. Did any of the H-2A/H-2B workers that you are requesting pay you, or an agent, a job placement fee or other form [TYes [X]No
of compensation (either direct or indirect) as a condition of the employment, or do they have an agreement to pay
you or the service such fees at a later date? The phrase "fees or other compensation" includes, but is not limited to,
petition fees, attorney fees, recruitment costs, and any other fees that are a condition of a beneficiary's employment
that the employer is prohibited from passing to the H-2A or H-2B worker under law under U.S. Department of
Labor rules. This phrase does not include reasonable travel expenses and certain government-mandated fees (such
as passport fees) that are not prohibited from being passed to the H-2A or H-2B worker by statute, regulations, or
any laws.

8.b. Ifyes, list the types and amounts of fees that the worker(s) paid or will pay.

8.c. Ifthe workers paid any fee or compensation, were they reimbursed? []Yes [-|No

8.d. Ifthe workers agreed to pay a fee that they have not yet been paid, has their agreement been terminated Clyes [No
before the workers paid the fee? (Submit evidence of termination or reimbursement with this petition.) *

9. Have you made reasonable inquiries to determine that to the best of your knowledge the recruiter, &JYes [No
facilitator, or similar employment service that you used has not collected, and will not collect, directly or
indirectly, any fees or other compensation from the H-2 workers of this petition as a condition of the H-2
workers’ employment?

NOTE: If USCIS determines that you knew, or should have known, that the workers requested in
connection with this petition paid any fees or other compensation at any time as a condition of
employment, your petition may be denied or revoked.

10.a, Have you ever had an H-2A or H-2B petition denied or revoked because an employee paid a job placement ClYes [X]No
fee or other similar compensation as a condition of the job offer or employment?

10.a.1 If yes, when? | |

10.a.2 Receipt Number: > [ | | | | | | | | | | | |

10.b. Were the workers reimbursed for such fees and compensation? (Submit evidence of reimbursement.) If Olyes [No
you answered no because you were unable to locate the workers, include evidence of your efforts to locate
the workers.

11. Have any of the workers you are requesting experienced an interrupted stay associated with their entry as LlYes [No

an H-2A or H-2B? (See form instructions for more information on interrupted stays.)

If yes, document the workers' periods of stay in the table on the first page of this supplement. Submit
evidence of each entry and each exit, with the petition, as evidence of the interrupted stays.

12.a. Ifyou are an H-2A petitioner, are you a participant in the E-Verify program? [Yes [X]No

12.b. If yes, provide the E-Verify Company ID or Client Company ID.

Form 1-129 Q1/17/17 Y H Classification Supplement Page 16 of 36 /

13
Case 5:21-cr-00009-LGW-BWC Document 637-2 Filed 07/13/23 Page 15 of 47

AN a ET a A A ee

Section 2. Complete This Section If Filing for H-2A or H-2B Classification (continued)

The H-2A/H-2B petitioner and each employer consent to allow Government access to the site where the labor is being performed for
the purpose of determining compliance with H-2A/H-2B requirements. The petitioner further agrees to notify DHS beginning on a
date and in a manner specified in a notice published in the Federal Register within 2 workdays if: an H-2A/H-2B worker fails to report
for work within 5 workdays after the employment start date stated on the petition or, applicable to H-2A petitioners only, within 5
workdays of the start date established by the petitioner, whichever is later; the agricultural labor or services for which H-2A/H-2B
workers were hired is completed more than 30 days early; or the H-2A/H-2B worker absconds from the worksite or is terminated prior
to the completion of agricultural labor or services for which he or she was hired. The petitioner agrees to retain evidence of such
notification and make it available for inspection by DHS officers for a one-year period. "Workday" means the period between the
time on any particular day when such employee commences his or her principal activity and the time on that day at which he or she
ceases such principal activity or activities. . .

For H-2A petitioners only: The petitioner agrees to pay $10 in liquidated damages for each instance where it cannot demonstrate it is
in compliance with the notification requirement.

The petitioner must execute Part A. If the petitioner is the employer's agent, the employer must execute Part B. If there are joint
employers, they must each execute Part C.

[Part A. Petitioner

By filing this petition, I agree to the conditions of H-2A/H-2B employment and agree to the notification requirements. For H-2A
petitioners: | also agree to the liquidated damages requirements defined in 8 CFR 214.2(h)(5)(vi)(B)(3).

Signat@re of Petitimmer__—s, Name of Petitioner Date (mm/dd/yyyy)
eS || | [23/07/2014]

ee
[Part B. Employer who is not the petitioner

I certify that I have authorized the party filing this petition to act as my agent in this regard. I assume full responsibility for all
representations made by this agent on my behalf and agree to the conditions of H-2A/H-2B eligibility.

Signature of Employer Name of Employer Date (mm/dd/yyyy)

| IL Jt

\Part C. Joint Employers

agree to the conditions of H-2A eligibility.

Signature of Joint Employer Name of Joint Employer Date (mm/dd/yyyy)
Signature of Joint Employer Name of Joint Employer Date (mm/dd/yyyy)
Signature of Joint Employer Name of Joint Employer Date (mm/dd/yyyy)
Signature of Joint Employer Name of Joint Employer Date (mm/dd/yyyy)

Form I-129 O1/17/17 Y H Classification Supplement Page 17 of 36 /
Case 5:21-cr-00009-LGW-BWC Document 637-2 Filed 07/13/23 Page 16 of 47

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i -797B | NOTICE OF ACTION | SS ERHEENS Rr RR haniceation Seevces

a

Receipt Number Case Type “)
WAC1914050982 1129 - PETITION FOR A NONIMMIGRANT WORKER
Received Date Priority Date Petitioner
03/11/2019
Notice Date Page Beneficiary 250 WORKERS
03/13/2019 lof2
/ . Notice Type: Approval Notice
c/o H ZADVISORS LLC Class: H2A
Valid from 03/15/2019 to 11/15/2019
‘Consulate:

The above petition has been approved, and notification has been sent to the listed consulate. You may also send the tear-off bottom part of this notice to the
worker(s) to show the approval. Please contact the consulate with any questions about visa issuance. THIS FORM IS NOT A VISA AND MAY NOT BE
USED IN PLACE OF A VISA. °

Petition approval does not authorize employment or training. When the workers are granted status upon admission to the United States, they can then

work for the petitioner, but only as detailed in the petition and for the period authorized. When seeking admission to the United States, the following
classifications may be eligible for a grace period of up to 10 days before, and up to 10 days after the petition validity period: CW-1, E-1, E-2, E-3, H-[B,
H-2B, H-3, L-1A, L-1B, O-1, O-2, P-1, P-2, P-3, TN-1, and TN-2. H-2A nonimmigrants may be eligible for a grace period of up to one week before and
30 days after the petition validity period. If provided at admission, this grace period will be annotated on the beneficiary’s I-94 by Customs and Border
Protection (CBP). The grace period is a period of authorized stay but does not provide the beneficiary authorization ta work beyond the petition validity
period. Please contact the IRS with any questions about tax withholding.

If circumstances change, the petitioner can file Form 1-824 to have us notify angther consulate of this approval. If any of the workers are already in the U.S.
the petitioner can file a new Form I-129 to seek to change or extend their status based on this petition. Changes in employment or training may also require
a new petition. Include a copy of this notice with any other required documentation,

The approval of this visa petition does not in itself grant any immigration status and does not guarantee that the alien beneficiary will subsequently be found
to be eligible for a visa, for admission-to the United States, or for an extension, change, or adjustment of status,

Number of workers: 250

Please see the additional information on the back. You will be notified separately about any other cases you filed. .

California Service Center nt
U. S. CITIZENSHIP & IMMIGRATION SVC
P.O. Box 30111

Laguna Niguel CA 92607-0111 .

Customer Service Telephone: (800) 375-5283

Please tear off portion a and Ht it to the alien worker.

Seas wreoccce Wee eee te eta nce wee esse e tener tenes ere ee eee ee eee eee ee eee eee eee eee ew eens eee eee se eee eee eee eee

[ : : ‘ .
The alien may use this portion when applying for a visa al an American consulate abroad, or if no visa is required, when applying for admission to the U.S.

Receipt#: WAC1914050982 Case Type: [129

Notice Date: March 13, 2019. Petitioner:
Petitioner Validity Dates: Valid from 03/15/2019 to 11/15/2019 | Number of Workers: 250 , '
Name DOB COB Class Consulate/POE . OCC
UNNAMED H2A 500

FORM I-7878 [REV. 08/01/16]
Case 5:21-cr-O0009-LGW-BWC Document 637-2 Filed 07/13/23 Page 17 of 47

I= 7978 | NOTICE OF ACTION

DEPARTMENT OF HOMELAND SECURITY
U.S, CITIZENSHIP AND IMMIGRATION SERVICES

Receipt Number Case Type

WAC1914050982 1129 - PETITION FOR A NONIMMIGRANT WORKER

Received Date Priority Date Petitioner

03/11/2019

Notice Date Page Beneficiary 250 WORKERS

03/13/2019 2o0f2 :

Name DOB COB - Class Consulate/POE . occ
UNNAMED : : H2A . 500 |

The Small Business Regulatory Enforcement and Fairness Act established the Office of the National Ombudsman (ONO) at the Small Business
Administration. The ONO assists small businesses with issues related to federal regulations. If you are a small business with a comment or complaint about
regulatory enforcement, you may contact the ONO at www.sba gov/ombudsman or phone 202-205-2417 or fax 202-481-5719.

NOTICE: Although this application or petition has been approved, USCIS and the U.S. Department of Hometand Security reserve the right to verify this
information before and/or after making a decision on your case 50 we can ensure that you have complied with applicable laws, rules, regulations, and other
legal authorities. We may review public information and records, contact others by mail, the internet or phone, conduct site inspections of businesses and
residences, or use other methods of verification. We will use the information obtained to determine whether you are eligible for the benefit you seek. lf we
find any derogatory information, we will follow the law in determining whether to provide you (and the legal representative listed on your Form G-28, if
you submitted one) an opportunity to address that information before we make a formal decision on your case or start proceedings.

Please see the additional information on the back.- You will be notified separately about any other cases you filed. |

California Service Center

U.S. CITIZENSHIP & IMMIGRATION SVC

P.O. Box 30111

Laguna Niguel CA 92607-0111 -

Customer Service Telephone: (800) 375-5283 .

HNL

[1

Please tear off portion below and forward it to the alien worker.

VOID
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The alien may use this portion when applying ff aviga & ay Amycican consulate abroad, or if no visa is required, WET: {Tf FHF ydmission to the U.S. |
Y VRE y RES

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U.S. Department of Labor Employment and Training
Administration
Office of Foreign Labor Certification
Chicago ‘National Processing Center
11 West Quincy Court
Chicago, IL 60604

CERTIFICATION LETTER
March 5, 2019
. Case Number; H-300-19028-907991

GA

Dear Sir/Madam: .

Your application seeking temporary labor certification under the H-2A temporary
agricultural program has been certified. On February 19, 2019, this office accepted for
consideration an application from you requesting H-2A temporary labor certification for .
250 Farmworker And Laborer, Crop, Nursery, And Greenhouse job opportunities. In
accordance with Departmental regulations at 20 Code of Federal Regulations (CFR) §
655, Subpart B, it has been determined that a sufficient number of able, willing and
qualified U.S. workers have not been identified as being available at the time and place
needed to fill all of the job opportunities for which certification has been requested and
that employment of the H-2A workers will not adversely affect the wages and working
conditions of workers in the United States similarly employed.

Therefore, the Department grants certification for 250 Farmworker And Laborer, Crop,
Nursery, And Greenhouse job opportunities. You must comply with all assurances,
guarantees and other requirements contained in Departmental regulations at 20 CFR §
655, Subpart B and-20 CFR § 653, Subpart F.

Upon receipt of this notification, you will need to submit to the U.S. Citizenship and
Immigration Service (USCIS) California Service Center the 1-129 Form that is required
in conjunction with an H-2A application. The USCIS petition can be obtained at
htto:/Awww.uscis.gov.

IMPORTANT NOTE: The employer must sign and date the ETA Form 9142 prior to
submission to USCIS California Service Center. . :

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Case 5:21-cr-00009-LGW-BWC Document 637-2 Filed 07/13/23 Page 19 of 47

Enclosed is a bill for fees assessed for the H-2A certification. Non-payment or untimely
payment may be considered a substantial violation subject to the procedures in
Departmental regulations at 20 CFR § 655.182.

Important Reminders:

o In accordance with Departmental regulations at 20 CFR § 655.120(b), if the
prevailing hourly wage or piece rate is adjusted during a work contract, and is
higher than the highest of the AEWR, the prevailing wage, the agreed-upon
collective bargaining wage, or the Federal or State minimum wage, in effect at
the time the work is performed, the employer must pay at least that higher
prevailing wage or piece rate upon notice to the employer by the Department.
The Department posts all current prevailing hourly wages and piece rates to the
Department of Labor's Agricultural On-Line Wage Library (AOWL). You are
encouraged to visit the AOWL website at
http://www. foreigniaborcert.doleta.gov/aowl.cfm for the updated wage rates.

o You must continue to cooperate with the State Workforce Agency (SWA) by
accepting all referrals of eligible U.S. workers who apply (or on whose behalf an
application is made) for the job opportunity until the end of the recruitment period
as set forth in Departmental regulations at 20 CFR § 655.135(d). The end date of
your obligation to consider all referrals under the 50 percent rule is calculated by
the SWA based on the date the H-2A worker departed for the employer's place of
business, which is assumed to be three days prior to the first date of need.
However, if the H-2A worker will not depart for your place of employment three
days prior to the first date of need, Departmental regulation 20 CFR § 655.135(c)
requires you to inform the SWA in writing of the new expected departure date.

o You must update and maintain the recruitment report throughout the recruitment
period including the 50 percent period as specified in Departmental regulations at
20 CFR § 655.156(b). This supplement to the recruitment report must meet the
requirements of Departmental regulations at 20 CFR § 655.156(a)(1)-(4). The
employer must sign and date this supplement to the recruitment report and retain
it for a period of no less than three (3) years. The supplement to the recruitment
report must be provided upon request.

o You are also reminded that in accordance with Departmental regulations at 20
CFR § 655.122(n), the termination of workers for cause and abandonment of the
job by workers are to be reported in writing to the Department and to the
Department of Homeland Security (DHS) within two (2) business days of the
termination or discovering abandonment. To make compliance with this
requirement simple and fast, the employer may e-mail the notification directly to
the Chicago NPC using TLC.Chicago@dol.gov. Your requests will be handled as
expeditiously as possible. Employers without internet access may also send
written notification by facsimile to (312) 886-1688 (ATTN: H-2A Abandonment
and Termination) or U.S. mail to the following address:

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U.S. Department of Labor

Employment and Training Administration
Office of Foreign Labor Certification
Chicago National Processing Center

11 West Quincy Court |

Chicago, IL 60604

ATTN: H-2A Abandonment and Termination

In accordance with Departmental regulations at 20 CFR § 655.135(i), ‘employers
must inform H-2A workers of the requirement that they must leave the United
States at.the end of the period certified by the Department or separation from the
employer, whichever is earlier, unless the H-2A worker is being sponsored by
another subsequent employer.

. In accordance with Departmental regulations at 20 CFR § 655.122(q), employers
must provide to H-2A workers no later than the time at which the workers apply
for the visa, or.to workers in corresponding employment no later than on the day
work commences, a copy of the work contract between the employer and the
workers in a language understood by the worker as necessary or reasonable. For
H-2A workers going. from an H-2A employer toa subsequent H-2A employer, the

.copy must be provided no later than the time an offer of employment i is made by
the subsequent H-2A employer.

In accordance with Departmental regulations at 20 CFR.§ 655.135(I), employers
must post and maintain in a conspicuous location at the place of employment, a
poster-provided by the Secretary of the Department of Labor in English, and to
the extent necessary, any language common to a significant portion of the
workers if they are not fluent in English, which sets out the rights and protections
for workers. A copy of the poster is available at
http:/Awww.dol.gov/whd/resources/posters.htm.

Departmental regulations at 20 CFR § 655.180, allow the Department to conduct
audit examinations of certified H-2A applications. The applications selected for °
audit will be chosen within the sole discretion of the Department. If your
certification has been selected for audit, you are reminded that you must submit
the documentation requested in the audit letter within the specified timeframe.
Failure to comply with the audit process may result in a finding by the Certifying
Officer to revoke the labor certification and/or debarment of the employer from
future filings of H-2A temporary labor certification applications. Additionally, the
audit findings and underlying documentation may be provided to the Department
of Homeland Security or another appropriate enforcement agency. Referrals of
any findings that an employer discouraged an eligible U.S. worker from applying,
or failed to hire, discharged, or otherwise discriminated against an éligible U.S.

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worker, to the Department of Justice, Civil Rights Division, Office of Special
Counsel for Unfair Immigration Related Employment Practices.

o !n accordance with Departmental! regulations at 20 CFR § 655.170, employers
may request to extend (by more than two (2) weeks) the period of employment
on certified H-2A applications in writing, to the Chicago NPC. The employer may
e-mail the request directly to the Chicago NPC using the address:
TLC.Chicago@dol.gov, with the words "H-2A Extension Request" contained in
the subject line of the e-mail. Employers without internet access may send a
written request by facsimile to (312) 886-1688 (ATTN: H-2A Extension Request)
or by U.S. mail to the following address:

U.S. Department of Labor

Employment and Training Administration
Office of Foreign Labor Certification
Chicago National Processing Center

11 West Quincy Court ~

Chicago, IL 60604

ATTN: H-2A Extension Request

o Requests for changes in the period of employment lasting two (2) weeks or less
can be directly filed with the USCIS California Service Center.

Sincerely,
OFLC Certifying Officer
Enclosures: Invoice for Certification; ETA Form 9142

CC:

GEORGIA DEPARTMENT OF LABOR

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Case 5:21-cr-00009-LGW-BWC Document 637-2 Filed 07/13/23 Page 22 of 47

March 7, 2019

USCIS California Service Center
Attn: 1-129 H-2A

P.O. Box 10140

Laguna Niguel, CA 92607-1040

Case Type: H-2A Request
Case: H-300-19028-907991

Petitioner:

To whom it may concern:

Attached is the copy of Foreign Labor Certification and additional documents for

and H-2Advisors, LLC as its authorized agerit under USDOL regulations.

H-2Advisors, LLC is not acting as an agent under Immigration regulations; H-2Advisors, LLC is acting as a
form preparer.

is requesting two hundred fifty (250) H-2A guest workers.

Attachments:

USCIS Form I-129 Petition for a Nonimmigrant Worker (2 copies)
Original Blue FormETA-9142A H-2A Application for Temporary Employment Certification H-
300-19028-907991_ .
Copy of signed Appendix A ETA-9142A
Copy of letter from U.S. Dept. of Labor Certified case
Workers Comp
Copy of FLC certificate for
Federal TAX EIN Letter for
H-2Advisors, LLC Federal Employer Identification Number IRS Letter
Copy of Agreement between and H-2Advisors, LLC for assistance and
representation in H-2A program.
Money order for $460 payable to USCIS

H-2Advisors, LLC

GA

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Case 5:21-cr-00009-LGW-BWC Document 637-2 Filed 07/13/23 Page 23 of 47

OMB Approval: 1205-0466
Expiration Date:05/31/2019 i. cei . .
H-2A Application for Temporary Employment Certification
Form ETA-9142A

U.S. Department of Labor

Please read and review the filing instructions carefully before completing the Form ETA-9142A . A copy of the instructions can be found

at http://www. foreigniabarcert.doleta.qov/. In accordance with Federal Regulations, incomplete or obviously inaccurate applications
will not be certified by the Department of Labor. If submitting this form non-electronically, ALL required fields/fitems containing an
asterisk (*) must be completed as well as any fields/items where a response is conditional as indicated by the section ( § ) symbol.

A. Employment-Based Nonimmigrant Visa Information

1, Indicate the type of visa classification supported by this application (Write classification symbol): * H-2A /

B. Temporary Need Information

1. Job Title *E 5rmworker

2. SOC (ONET/OES) code * 3. SOC (ONET/OES) occupation title *
Farmworkers and Laborers, Crop, Nursery, and Greenhouse
4. Is this a full-time position? * Period of Intended Employment
[V] es [_]r° 5. Begin Date * 93/15/2019 #8 Ene Date” 44/452019
(mm/deyyyy) (mmiddtyyyy)

7. Worker positions needed/basis for the visa classification supported by this application

250 Total Worker Positions Being Requested for Certification *

Basis for the visa classification supported by this application
(indicate the total workers in each applicable category based on the total workers identified above)

250 a. New employment * 0 d. New concurrent employment *

0 b. Continuation of previously approved employment * 0 e. Change in employer *
without change with the same employer

0 c. Change in previously approved employment * 0 f. Amended petition *

8. Nature of Temporary Need: (Choose only one of the standards) *

Seasonal lad Peakload ra One-Time Occurrence [] Intermittent or Other Temporary Need
9. Statement of Temporary Need *

FLC has secured several contracts with farmers in south GA to rake, gather, tie, and bale pine straw. Also FLC
has secured contracts in south GA to pick, plant, and pack blueberries. There will be no charges to the workers
for housing or transportation. As soon as the local SWA GA Dept of Labor conducts the housing inspection and
sends me the certifications, | will send a copy of the housing certification.

P tof10
Form ETA-9142A FOR DEPARTMENT OF LABOR USE ONLY re

B00: 9026-907991 Case Status: CERTIFIED "Validity Period: 03/15/2019 to 11/15/2019

Case Number:

22
Case 5:21-cr-00009-LGW-BWC Document 637-2 Filed 07/13/23 Page 24 of 47

OMB Approval: 1205-0466 ‘
Expiration Date: 05/31/2019 ‘ :
H-2A Application for Temporary Employment Certification

Form ETA-9142A
U.S. Department of Labor

C. Employer Information

Important Note: Enter the full name of the individual employer, partnership, or corporation and all other required information in this section.
For joint employer or master applications filed on behalf of more than one employer under the H-2A program, identify the main or primary
employer in the section below and then submit a separate attachment that identifies each employer, by name, mailing address, and total

worker positions needed, under the application.

1. Legal business name *

2. Trade name/Doing Business As (DBA), if applicable
N/A
3 Address 1*

Rd.

4. Address 2

N/A

5. Citv* 6. State * 7. Postal code *
GA 3

8. Country * 9. Province

UNITED STATES OF AMERICA 1A

1M Talanhane number * 11. Extension
N/A

13. NAICS code (must be at least 4-digits) *

12. Federal Employer Identification Number (FEIN from IRS) *

15. Annual gross revenue | 16. Year established

14. Number of non-family full-time equivalent employees
N/A N/A

0
17. Type of employer application (choose only one box below) *
C Individual Employer (J association — Sole Employer (H-2A only)

H-2A Labor Contractor or [_]Association - Joint Employer (H-2A only)
Job Contractor [_ Association — Filing as Agent (H-2A only)

D. Employer Point of Contact Information

Important Note: The information contained in this Section must be that of an employee of the employer who is authorized to act on behalf of
the employer in labor certification matters. The information in this Section must be different from the agent or attorney information listed in
Section E, unless the attorney is an employee of the employer. For joint employer or master applications filed on behalf of more than one
employer under the H-2A program, enter only the contact information for the main or primary employer (e.g., contact for an association filing

as joint employer) under the application.

1. Contact's last (family) name * 2. First (given) name * 3. Middle name(s) *
N/A
4. Contact's job title *
FLC
5. Address 1*
Rd.
6. Address 2
N/A
7 Cite* 8. State * 9. Postal code *
10. county 11, Province
UNITED STATES OF AMERICA N/A
12. Telephone number * 13. Extension | 14. E-Mail address
N/A N/A
Form ETA-9142A FOR DEPARTMENT OF LABOR USE ONLY pee 8 AG
FEROS 9028-9099 Case Status: CERTIFIED Validity Period: 03/15/2019 to 11/15/2019

Case Number:

Case 5:21-cr-O0009-LGW-BWC Document 637-2 Filed 07/13/23 Page 25 of 47

OMB Approval, 1205-0466
Expiration Date: 05/31/2019 ; . *
H-2A Application for Temporary Employment Certification

Form ETA-9142A
U.S. Department of Labor

E. Attorney or Agent Information (If applicable)

1. Is/are the employer(s) represented by an attorney or agent in the filing of this application [V]ves No

including associations acting as agent under the H-2A program)? If “Yes”, complete Section E. * ¥ [|
2. Attorney or Agent's last (family) name § 3. First (given) name § 4. Middle name(s) §

5. Address 1 §
L _AVE.

6. Address 2

N/A

7. City § 8. State § 9. Postal code §

GA

10. Country § 11. Province
UNITED STATES OF AMERICA N/A

12. Telephone number § 13. Extension 14. E-Mail address

N/A | DOUTLOOK.COM

15. Law firm/Business name § 16. Law firm/Business FEIN §
H-2ADVISORS, LLC

17. State Bar number (only if attorney) § 18. State of highest court where attorney is in good
N/A Standing (only if attorney) §

N/A

19. Name of the highest court where attorney is in good standing (only if attorney) §

N/A

F. Job Offer Information
a. Job Description

1. Job Title *
Farmworker
2. Number of hours of work per week 3. Hourly Wark Schedule *
Basic *: 35.00 Overtime: 0 A.M. (:mm): 8: 00) P.M. (himm): 3: 00_
4. Does this position supervise the work of other employees? * 4a. lf yes, number of employees

[" ]ves No | worker will supervise (if applicable) § 0

5. Job duties — A description of the duties to be performed MUST begin in this space. If necessary, add attachment
to continue and complete description. *

SEE ADDENDUM

Work in inclement weather (rain, heat, cold, hot, humid) $11,13/hour 35 hours a week. Workers will be manually
gathering pine straw by raking, baling, stacking, grading, sorting tying, packing, cleaning, weeding. Workers may
lift and carry up to 60 Ibs by hand. Work is in inclement weather conditions including extremely hot, humid, cold,
and/or rainy weather. Three months of verifiable farm-work experience required. Tools are provided by employer
at no cost. 3/4 guaranteed. Must show proof of legal authority to work in USA. Must be 18 years old. Workers will
also be picking, sorting, grading, carrying blueberries to the trailer for loading and unloading Workers may lift and
carry up to 60 Ibs. Long sleeve shirts and long pants are recommended to minimize contact with the plants and
thereby reduce the exposure to cuts and scrapes caused by the plants. Perform prolonged walking over uneven
ground in dusty or muddy

Page 3of 10
Form ETA-9142A FOR DEPARTMENT OF LABOR USE ONLY

Case Number: 4-300-19028-907991 Case Status: cerptiFigco ss :CS*«(Validdity Peer: 93/15/2019 to _ 4715/2019

Case 5:21-cr-00009-LGW-BWC Document 637-2 Filed 07/13/23 Page 26 of 47

OMB Approval: 1205-0466
Expiration Date: 05/31/2019

H-2A Application for Temporary Employment Certification
Form ETA-9142A

U.S. Department of Labor

F. Job Offer Information (continued)
b. Minimum Job Requirements

1, Education: minimum U.S. diploma/degree required *

MI None Ohigh SchoovGEo O Associate's Claachelor's C) master's C) Doctorate (PhD) () other degree (JD, MD, etc.)

la. If “Other degree” in question 1, specify the diploma/
degree required §

N/A

1b. Indicate the major(s) and/or field(s) of study required §
(May list more than one related major and more than one field)

N/A

2. Does the employer require a second U.S. diploma/degree? *

LT Ives [V]no

N/A

2a. If “Yes” in question 2, indicate the second U.S. diploma/degree and the major(s) and/or field(s) of study required §

3. Is training for the job opportunity required? *

|_| Yes i’ | No:

3a. If “Yes” in question 3, specify the number of
months of training required §

0

3b. Indicate the field(s)/name(s) of training required §
(May list more than one related field and more than one type)

4. |s employment experience required? *

N/A
| |v‘ | Yes | |No

4a. lf “Yes” in question 4, specify the number of
months of experience required §

3

4b. Indicate the occupation required §

3 months'of verifiable experience raking and baling pine stra

SEE ADDENDUM

pushing and pulling, extensive walking, frequent

5. Special Requirements - List specific skills, licenses/certifications, and requirements of the job opportunity. *

Extensive sitting, exposure to extreme temps, lifting requirements up to 60 Ibs, repetitive movements, extensive

c. Place of Employment Information

1. Worksite address 1 *

2. Address 2
N/A
3. City * 4. County *
Bacon
Bs State/District/Territory * 6. Postal code * .
A

7. Will work be performed in multiple worksites within an area of intended
employment or a location(s) other than the address listed above? *

[V]¥es [_]No

Alma, GA 31510
i Rd, Alma, GA 31510
Lane, Alma,GA 31510
Rd, Alma, GA 31510

2. Georgia Other
3. Georgia Other
4. Georgia Other
5. Georgia Other

State Area Based On Area
1. Georgia County/Township BACON - SOUTH GEORGIA NONMETROPOLITAN AREA

7a. If Yes in question 7, identify the geographic place(s) of employment with as much specificity as possible, If necessary,
submit an attachment to continue and complete a listing of all anticipated worksites. §

Form ETA-9142A

Case Number: 4-300-19028-907991

FOR DEPARTMENT OF LABOR USE ONLY

Case Status: CERTIFIED

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Validity Period: 09/15/2019 to 19/18/2019

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Expiration Date 05/31/2019 -
“en ee H-2A Application for Temporary Employment Certification

Form ETA-9142A
U.S. Department of Labor

G. Rate of Pay

1. Basic Rate of Pay Offered * 1a. Overtime Rate of Pay (it applicable) §

From: $ 414 .13 To (Optional): $ 9 00 From: $ 9 -00 To (Optional: $ 9 00

2. Per: (Choose only one) *
Hour [| Week C] Bi-Weekly C] Month [Year C] Piece Rate

2a. If Piece Rate is indicated in question 2, specify the wage offer requirements: §
N/A

3. Additional Wage Information (e.g., multiple worksite applications, itinerant work, or other special procedures).
If necessary, add attachment to continue and complete description. §

SEE ADDENDUM
Work in both pine straw and blueberries are paid on a piece rate.

Pine straw is paid $1.00 per bale to rake, gather,

H. Recruitment Information

1. Name of State Workforce Agency (SWA) serving the area of intended employment *
Georgia Department of Labor

2. SWA job order identification number | 2a. Start date of SWA job order * 2b. End date of SWA job order *
01/18/2019 07/16/2019
3. Is there a Sunday edition of a newspaper (of general circulation) in Yes | ¥ No

the area of intended employment? *

Name of Newspaper/Publication (in area of intended employment for H-28 only” | Dates of Print Advertisement §

4. From: To:
The Press Sentinel N/A N/A
5. From: To:
N/A N/A N/A

6. Referral and Hiring Information: Enter at least two verifiable methods by which prospective U.S. workers can contact
the employer and apply for the job opportunity.

a. Telephone Number to Apply * b. Email Address to Apply *

@gmail.com

c. Website address (URL) to Apply *

N/A
Form ETA-91424 FOR DEPARTMENT OF LABOR USE ONLY Page 5 of 10
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H-2A Application for Temporary Employment Certification

Form ETA-9142A
U.S. Department of Labor

|. Declaration of Employer and Attorney/Agent

In accordance with Federal regulations, the employer must attest that it will abide by certain terms, assurances and obligations
as a condition for receiving a temporary labor certification from the U.S. Department of Labor. Applications that fail to attach
Appendix A or Appendix B will be considered incomplete and not accepted for processing by the ETA application processing
center.

1. For H-2A Applications ONLY, please confirm that you have read and agree to all the
applicable terms, assurances and obligations contained in Appendix A. § [V]ves [ ] No [| N/A
2. For H-28 Applications ONLY, please confirm that you have read and agree to all the
applicable terms, assurances and obligations contained in Appendix B. § Yes [ ]Nxe | N/A

J. Preparer

Complete this section if the preparer of this application is a person other than the one identified in either Section D (employer
point of contact) or E (attorney or agent) of this application.

1. Last (family) name § 2. First (given) name § 3. Middle initial §
N/A N/A N/A

4. Job Title §
N/A

5. Firm/Business name §

N/A
6. E-Mail address §
N/A

K. U.S. Government Agency Use (ONLY)

Pursuant to the provisions of Section 101 (a)(15)(h)(ii) of the Immigration and Nationality Act, as amended, I hereby certify that
there are not sufficient U.S. workers available and the employment of the above will not adversely affect the wages and working
conditions of workers in the U.S. similarly employed. By virtue of the signature below, the Department of Labor hereby
acknowledges the following:

This certification is vatid from 03/15/2019 to 11/15/2019
03/05/2019
Department of Labor, Office of Foreign Labor Certification _ Determination Date (date signed)
H-300-19028-907991 CERTIFIED
Case number Case Status

Public Burden Statement (1205-0466)

Persons are not required to respond to this collection of information unless it displays a currently valid OMB control number. Public reporting
burden for this collection of information is estimated to average 1 haur to complete the farm, including the time for reviewing instructions,
searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of information. The
obligation to respand to this data collection is required to abtain/retain benefits (Immigration and Nationality Act, 8 U.S.C. 1101, et seq.).
Please send comments regarding this burden estimate or any other aspect of this information collection to the Office of F oreign Labor
Certification * U.S. Department of Labor * Box 12-200 * 200 Constitution Ave., NW, * Washington, DC *. Please do not send the completed
application to this address.

Form ETA-9142A FOR DEPARTMENT OF LABOR USE ONLY Page 8 af 10 j,

Case Number: 4-00-19028-907991 Case Status: CERTIFIED Validity Period: 03/15/2019 to 1115/2019

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U.S. Department of Labor

ADDENDUM
ADDENDUM SECTION F.a.5: Additional Notes Regarding Job Duties

Conditions, bending and reaching. Work is autside in axtremely wat, humid, Not, and dirty conditions. 3 months verifiable experience required. Rapetitively walk, bend, raach, kneel, stoop,
push, pull and lift and carry up to 60 Ibs. Work is in inclement weather conditions including extremely hot, humid, cold, and/or rainy weather. Three months of verifiable farm-work
expenence required

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ADDENDUM
ADDENDUM SECTION F.b.5: Special Requirements

stooping, OT/Holiday is not mandatory

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to 1171872019

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Case Number: }-300-19028-907991 Case Status: CERTIFIED Validity Period: 03/15/2019

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H-2A Application for Temporary Employment Certification

Form ETA-9142A
U.S. Department of Labor

ADDENDUM
ADDENDUM SECTION F.c.7: Additional Worksites

State Area Based On Area

6. Georgia Other « Rad, Alma, GA 31510

7. Georgia Other axa, Alma, GA 34510

8. Georgia Other Rd, Alma, GA 31810

9 Georgia Other @ Rd, Alma, GA 31510

10. Georgia Other i Mwy, Alma, GA 31510

V1. Geargia Coun: - SOUTH GEORGIA NONMETROPOLITAN AREA

12. Georgia Other Rd, Nicholls, GA 31554

13. Gaorgia Other « ena, Nicholls, GA 31554

14, Georgia Other 3 Rd, Nicholls, GA 31554

15. Georgia Other id Rd, Nichalis, GA 31554

16. Geargia Other 1 1 Rd, Oougias, GA 31535

17. Georgia Other ' Rd, West Green, GA 31567

18. Georgia Coun + SOUTH GEORGIA NONMETROPOLITAN AREA

19. Georgia Other Rd, Mershon, GA 31551

20. Georgia County - SOUTH GEORGIA NONMETROPGLITAN AREA

21. Georgia Other 8 Rd, Waycross, GA 31503

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U.S. Department of Labor

ADDENDUM
ADDENDUM SECTION G.3: Additional Wage Information

claan, sart, tia, and bala pine straw, with a minimum wage guarantee of $11.13 per hour.

Biuebarries are paid $0.50 par pound to pick blueberries with a minimum wage guarantee of $11.13 per hour. All packing activities for blueberries ara paid on an hourly rate of $11.13 per
hour, ‘ 2

Form ETA-9142A FOR DEPARTMENT OF LABOR USE ONLY Pega xe 40
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Form ETA-9142A —- APPENDIX A
U.S. Department of Labor

For Use in Filing Applications Under the H-2A Agricultural Program ONLY

A. Attorney or Agent Declaration

/ hereby certify that ! am an employee of, or hired by, the employer listed in Section C of the Form ETA-9142A, and that I have
been designated by that employer to act on its behalf in connection with this application. If | am an agent and not an
employee of the employer, then I have attached a Letter of Representation from the employer. | also certify that to the best of
my knowledge the information contained herein is true and correct. | understand that to knowingly furnish false information in the
preparation of this form and any supplement hereto or to aid, abet, or counsel another to do so is a felony punishable by a $250,000

fine or 5 years in a Federal penitentiary or both (18 U.S.C. 1001).

1. Attorney or Agent's last (family) name | 2. First (given) name 3. Middle initial

4. Firm/Business name

H-2Advisors, LLC

5. E-Mail address

@outlook.com

6. Signature 7. Date signed

03/97/2019

B. Employer Declaration

“ Cs

By virtue of my signature below, 1 HEREBY CERTIFY the following conditions of employment:

1.

The job opportunity is a full-time temporary position, the qualifications for which do not substantially deviate from the normal
and accepted qualifications required by non-H-2A employers in the same or comparable occupations and crops.

The specific job opportunity for which the employer is requesting H-2A certification is not vacant because the former
occupant(s) is (are) on strike or focked out in the course of a labor dispute involving a work stoppage.

The job opportunity is open to any qualified U.S. worker regardless of race, color, national origin, age, sex, religion, handicap, or
citizenship, and the employer has conducted and will continue to conduct the required recruitment, in accardance with regulations,
and has been unsuccessfu! in locating sufficient numbers of qualified U.S. applicants for the job opportunity for which certification is
sought. Any U.S. workers who applied or apply for the job were or will be rejected only for lawful, job-related reasons, and the
employer must retain records of all rejections as required by 20 CFR 655.167.

The job opportunity offers U.S. workers no less than the same benefits, wages, and working conditions that the employer is
offering, intends to offer, or will provide to H-2A workers and complies with the requirements at 20 CFR 655, Subpart B.

The employer understands that it must offer, recruit at, and pay a wage that is at least the highest of the adverse effect wage
rate in effect at the time the job order is placed, the prevailing hourly or piece rate, the agreed-upon collective bargaining rate
(CBA), or the Federal or State minimum wage, and, furthermore, that if a new Adverse Effect Wage Rate is published, or the
employer is notified of a new prevailing wage rate during the contract period, and that new rate is higher than the wage
determined by the NPC (except the CBA) during the application process the employer will increase the pay of all employees in
the same job occupation to the higher rate. For employers subject to the requirements at 20 CFR 655.200-235, the employer
understands that it must offer, recruit at, and pay a wage that is at least the highest of the adverse effect wage rate, the
agreed-upon CBA, or the applicable minimum wage rate set by Federal or State law or judicial action, for each month, or
portion thereof, during the job order period.

There are no U.S. workers available in the area(s) capable of performing the temporary services or labor in the job
opportunity, and the employer will conduct positive recruitment as specified by the NPC and continue to cooperate with the
SWA by accepting referrals of all eligible U.S. workers who apply (or on whose behalf an application is made) for the job
opportunity until completion of 50% of the contract period calculated from the first date of need indicated in Section B.5 of
Form ETA-9142A.

All fees associated with processing the temporary labor certification will be paid in a timely manner.

Form ETA-9142A - Appendix A TO BE COMPLETED BY EMPLOYER FROM A CERTIFIED FORM ETA-9142A Page A.l of A3

Case Number: H-300-19028-907991 Case Status: CERTIFIED Period of Employment: 03/15/2019 tg 11/16/2019

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H-2A Application for Temporary Employment Certification

Form ETA-9142A — APPENDIX A
U.S. Department of Labor

8. During the period of employment that is the subject of the labor certification application, the employer:

() Will comply with applicable Federal, State and local employment-related flaws and regulations, including
employment-related health and safety laws;

(ii) Will provide for or secure housing for workers who are nat reasonably able to retum to their permanent residence at
the end of the work day that complies with the applicable local, State, or Federat standards and guidelines for
housing without charge to the worker;

(ii) Where required, has timely requested a preoccupancy inspection of the housing and received certification;

(iv) Will provide insurance, without charge to the worker, under a State workers’ compensation law or otherwise, that
meets the requirements of 20 CFR 655.122(e).

{v) Will provide transportation in compliance with all applicable Federal, State or !ocal laws and regulations between the
worker's living quarters (i.e., housing provided by the employer under 20 CFR 655.122(d) and, if applicable, 655.230}
and the employer's worksite without cost to the worker.

(vi) Will provide all tools, supplies, and equipment required to perform the duties, without charge to the worker.

(vii) Will provide meals and potable water, without charge to the worker, if subject to the requirements at 20 CFR
655.200-235.

9. The employer has not laid off and will not lay off any similarly employed U.S. worker in the occupation that is the subject of the
H-2A Application for Temporary Employment Certification in the area of intended employment except for lawful, job related
reasons within 60 days of the date of need, or if the employer has laid off such workers, it has offered the job opportunity that is
the subject of the application to those laid-off U.S. worker(s) and the U.S. worker(s) refused the job opportunity, was rejected
for the job opportunity for lawful, job-related reasons, or was hired.

10. The employer and its agents have not sought or received payment of any kind from the H-2A worker for any activity related to
obtaining labor certification, including payment of the employer's attomeys' fees, application fees, or recruitment costs. For
purposes of this paragraph, payment includes, but is not limited to, monetary payments, wage concessions (including
deductions from wages, salary, or benefits), kickbacks, bribes, tributes, in kind payments, and free labor.

11. The employer has and will contractually forbid any foreign labor contractor or recruiter whom the employer engages in
intemational recruitment of H-2A workers to seek or receive payments from prospective employees, except as provided for in
DHS regulations.

12. The employer has not and will not intimidate, threaten, restrain, coerce, blacklist, or in any manner discriminate against, and
has not and will not cause any person to intimidate, threaten, restrain, coerce, blacklist, or in any manner discriminate against,
any person who has with just cause:

(i) Filed a complaint under or related to Sec. 218 of the INA (8 U.S.C. 1188), or any Department regulation promulgated
under Sec. 218 of the INA;

(ii) Instituted or caused to be instituted any proceeding under or related to Sec. 218 of the INA, or any Department
regulation promulgated under Sec. 218 of the INA;

(ii) Testified or is about to testify in any proceeding under or related to Sec. 218 of the INA or any Department regulation
promulgated under Sec. 218 of the INA;

(iv) Consulted with an employee of a legal assistance program or an atlomey on matters related to Sec. 218 of the INA
or any Department regulation promulgated under Sec. 218 of the INA; or

{v) Exercised or asserted on behalf of himself/herself or others any right or protection afforded by Sec. 218 of the INA, or
any Department regulation promulgated under Sec. 218 of the INA.

13. The employer has not and will not discharge any person because of that person's taking any action listed in paragraph 1 2(i) through
{v) listed above.

14, The employer will inform H-2A workers of the requirement that they leave the U.S. at the end of the period certified by the
Department or separation from the employes, whichever is earlier, as required under 20 CFR 655,.135(i), unless the H-2A
worker is being sponsored by another subsequent employer.

15. The employer has posted the Notice of Workers’ Rights as required by 20 CFR 655.135(|) in a conspicuous place frequented
by all employees,

16. If the application is being filed as an H-2A Labor Contractor the following additional attestations and obligations apply under 20
CFR 655.132:

(i) The H-2A Labor Coniractor has provided a copy of the MSPA Farm Labor Contractor (FLC) certificate of registration
if required under MSPA, 1801 U.S.C. et seq., to have such a certificate identifying the specific farm tabor contracting
activities it is authorized to perform;

(ii) The H-2A Labor Contractor has provided with this application a list of the names and locations of each fixed-site
agricultural business to which the H-2A Labor Contractor expects to provide H-2A workers, the expected beginning
and ending dates when the H-2A Labor Contractor will be providing the workers to each fixed site, and a description
of the crops and activities the workers are expected to perform at such fixed site;

(iii) The H-2A Labor Contractor is able to provide proof of its ability to discharge financial obligations under the H-2A
program and has secured a surety bond as required by 29 CFR 501.9, the original of which is attached and shows

Form ETA-91424 - Appendix A TO BE COMPLETED BY EMPLOYER FROM A CERTIFIED FORM ETA-9142A Page A2 of A3
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Expiration Date: 5/31/2019

H-2A Application for Temporary Employment Certification

Form ETA-9142A —- APPENDIX A
U.S. Department of Labor

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the name, address, phone number, and contact person for the surety, and provides the amount of the bond {as
calculated pursuant to 29 CFR 501.9);

(iv) The H-2A Labor Contractor has engaged in and will engage in recruitment efforts in each area of intended
employment in which it has listed a fixed-site agricultural business as required in 20 CFR 655.121, 655.150-155 and
655.215; and

(v) The H-2A Labor Contractor has obtained from each fixed-site agricultural business that will provide housing or
transportation to the workers a written statement stating that:

a. All housing used by workers and owned, operated, or secured by the fixed-site agricultural business
complies with the applicable housing standards in 20 CFR 655.122(d) and, if applicable, 655.235; and

b. All transportation between the worksite and the workers' living quarters that is provided by the fixed-site
agricultural business complies with all applicable Federal, State, or local laws and regulations and will
provide, at a minimum, the same vehicle safety standards, driver licensure, and vehicle insurance as
required under 29 U.S.C. 1841 and 29 CFR part 500, except where workers’ compensation is used to
cover such transportation as described in § 655.122(e); and

c. Attach to the statement certificates of occupancy from the SWA for all employer owned housing and copies
of all drivers’ licenses, vehicle registration, and insurance policies for all drivers and vehicles used to
transport H-2A workers.

I hereby acknowledge that the agent or attorney identified in section E (if any) of the Form ETA-9142A and section A above is
authorized to represent me for the purpose of labor certification and, by virtue of my signature in Block 5 below, | take full
responsibility for the accuracy of any representations made by my agent or attomey.

| declare under penalty of perjury that | have read and reviewed this application and that to the best of my knowledge the information
contained therein is true and accurate. | understand that to knowingly fumish false information in the Preparation of this form and any
suppiement thereto or to aid, abet, or counsel another to do so is a felony punishable by @ $250,000 fine or 5 years in the Federat
penitentiary or both (18 U.S.C. 10071).

1. Last (family) name 2. First (given) name 3. Middle initial
4. Title
FLC
5. Siete 6. Date signed
= - 03/07/2014
—_— SS , ‘

Public Burden Statement

Persons are nat required to respond to this collection of information unless it displays a currently valid OMB control number. Public reporting
burden far this collection of information is estimated to average 1 hour to complete the form, including the time for reviewing instructions,
searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of information. The
abligation to respond to this data collection is required to obtain/retain benefits (Immigration and Nationality Act, 8 U.S.C. 1101, et seq.).
Please send comments regarding this burden estimate or any other aspect of this information collection to the Office of Foreign Labor
Certification * U.S. Department of Labor * Box 12-200 * 200 Constitution Ave., NW, * Washington, DC * 20210. Please do not send the
completed application to this address.

Form ETA-9142A ~ Appendix A TO BE COMPLETED BY EMPLOYER FROM A CERTIFIED FORM ETA-9142A Page AJ of A3
Case Number: H-300-19028-807991 Case Status: CERTIFIED Period of Employment: 03/15/2019 4. 14/15/2019

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ACCORD
Ne

CERTIFICATE OF LIABILITY INSURANCE

NOEAG-1 ——__OP._ ID: NVW

DATE (MMIDDIYYYY)
01/28/2019.

| THIS CERTIFICATE tS ISSUEO AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED

REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.

IMPORTANT: If the certificate hotder Is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed.
If SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on
this certificate does not confer rights to the certificate holder in lieu of such endorsement(s}.

PRODUCER rGONTACT
The Farmers Agency, Inc PHONE FAX
114 North Johnson St | tAIC, No, Ext}, {AC No}.
Ashburn, GA 31714 SMAI oe
; INSURER(S) AFFOROING COVERAGE NAIC #
I A:Technology Insurance Co.
wenecn | INSURER 5; National Indemnity Company
fcr . insurer ¢ United Specialty Insurance Com
i GA insurer p: NATIONAL FIRE & MARINE
INSURER E>
INSURER F: _ .
COVERAGES CERTIFICATE NUMBER: REVISION NUMBER:

THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSUREO NAMED ABOVE FOR THE POLICY PERIOO
INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
EXCLUSIONS ANO CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS. |

INER TYPE OF INSURANCE poral ani POLICY NUMBER JERSE, | OGY EXE, LIMITS
C | X | coMMeRciat GENERAL LIABILITY EACH OCCURRENCE 5 1,000,000
] ctams.maoe [X ] occur i 07/26/2018} 07/26/2019 | DAMAGE TO RENTED. 3 100,000
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po PERSONAL & ADVINJURY | § 1,000,000
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OTHER $
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PROPERTY DAMAGE
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EXCESS LIAB CLAIMS-MADE AGGREGATE §
OEO | | RETENTION § 5
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ANY PROPRIETORIPARTNERIEXECUTVE 11/03/2018} 11/03/2013 Ei EACH ACCIDENT $ 100,000
OFFICE IMENBER EXCLUDED? NIA r _ 400,000}
(Mandatory In NH) EL. OSEASE - EA EMPLOYER $ .
tyes, describe unde! 600,000)
(PTION.OF OPERATIONS below E.L OISEASE-POLICYLIMIT L$ ;

‘ DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORO 101, Addittonal Remaras Schedule, may be attached If more space ts required)

“CERTIFICATE HOLOER

CANCELLATION

USDPTCA

U S Department of Labor
Wage & Hour Division - Administration

SHOULD ANY OF THE ABOVE DESCRIBEO POLICIES BE CANCELLED BEFORE
THE EXPIRATION DATE THEREOF, NOTICE WILL BE OELIVERED IN
ACCORDANCE WITH THE POLICY PROVISIONS.

200 Constitutional Ave NW
RD §-3502
{_ , Washington, Oe Oc a0
ACORD 26 (2016/03)

AUTHORIZED REPRESENTATIVE

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ERE PO en fee ree mee
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NO Ne ee ew =

Si nd AN RR me ee

Ye aks # Lome RARE Set teem meme i
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11/06/2017 4:11:45 PM ~0500 IRS PAGE 2 OF 2
§) Department of the Treasury Inreply refer to: 0231174152
Nov 06, 2017 LTR 147¢

Internal Revenue Service
Ciicinnati, Oh 45999

SLACKSHEER GA 31516-3558 580

Taxpayer Identification Number:

Form(s):

Dear Taxpayer:
Thank you for your telephone inquiry of November 6th, 2017:

Your Employer identification Number (EIN) is: . Please keep this letter in your
permanent records. Enter your mame and your EIN on all business federal tax forms and on
related correspondence.

If you have any questions regarding this letter, please call our Customer Service Department at
1-800-829-0115 between the.hours of 7:00 AM and 7:00 PM. If you prefer, you may write to us
at the address shown at the top of the first page of this letter. When you write, please include a
telephone number where you may be reached and the best time to cull.

Sincerely,

Contact Representative

ee.
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3) IRS DePaRtenT OF THE TREASURY
“INTERNAL REVENUE SERVICE
CINCINNATI OH 45999-0023
Date of this notice: 09-05-2018

Emninavar Tedentification Number:

Form: SS-4

Number of this notice: CP 575 G
H-2ADVISORS LLC .

For assistance you may call us at:
1-800-829-4933

IF YOU WRITE, ATTACH THE
STUB AT THE END OF THIS NOTICE.

WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER

Thank you for applying for an Employer Identification Number (EIN). We assigned you

EIN This EIN will identify you, your business accounts, tax returns, and
documents, even if you have no employees. Please keep this notice in your permanent
records.

When filing tax documents, payments, and related correspondence, it is very important
that you use your EIN and complete name and address exactly as shown above. Any variation
May cause a delay in processing, result in incorrect information in your account, or even
cause you to be assigned more than one EIN. If the information is not correct as shown
above, please make the correction using the attached tear off stub and return it to us.

A limited liability company (LLC) may file Form 8832, Entity Classification Election,
and elect to be classified as an association taxable as a corporation. If the LLC is
eligible to be treated as a corporation that meets certain tests and it will be electing S$
corporation status, it must timely file Form 2553, Election by a Small Business
Corporation. The LLC will be treated as a corporation as of the effective date of the $
corporation election and does not need to file Form 8832.

To obtain tax forms and publications, including those referenced in this notice,
visit our Web site at www.irs.gov. If you do not have access to the Internet, call
1-800-829-3676 (TTY/TDD 1-800-829-4059) or visit your local IRS office.

IMPORTANT REMINDERS:
* Keep a copy of this notice in your permanent records. This notice is issued only
one time and the IRS will not be able to generate a duplicate copy for you. You
may give a copy of this document to anyone asking for proof of your EIN.

* Use this EIN and your name exactly as they appear at the top of this notice on all
your federal tax forms.

* Refer to this EIN on your tax-related correspondence and documents.

If you have questions about your EIN, you can call us at the phone number or write to
us at the address shown at the top of this notice. If you write, please tear off the stub
at the bottom of this notice and send it along with your letter. If you do not neéd to
write us, do not complete and return the stub.

Your name control associated with this EIN is H-2A. You will need to provide this
information, along with your EIN, if you file your returns electronically.

Thank you for your cooperation.
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Control Number

STATE OF GEORGIA
Secretary of State

Corporations Division
313 West Tower
2 Martin Luther King, Jr. Dr.
‘Atlanta, Georgia 30334-1530

CERTIF ICATE OF ORGANIZATION,

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WITNESS my hand and official seal in the City of Atlanta
and the State of Georgia on 09/05/2018. -

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H-2Advisors, LLC

AGREEMENT

This AGREEMENT is entered into this_ 8th _ day of __ January, 2019 by and between H-2Advisors,
LLC a labor consulting firm in the state of Georgia, hereinafter referred to as “H-2Advisors, LLC, and
FLC - , hereinafter referred to as the “Client”

NOW THEREFORE, for valuable consideration, including, but not limited to the terms of this agreement,
the parties agree as follows:

H-2Advisors, LLC will prepare and process forms and documents required pursuant to applicable laws
and regulations of the United States Department of Labor (USDOL) and United States Citizenship and
immigration Services (USCIS) and other Federal and State government agencies to complete and
process forms and documents necessary to process workers from other countries under the United
States Guest worker program as established by 8 USC Sec. 1101 (a) (15) (H) (ii) (b) and commonly known
as the H-2A program.

H-2Advisors, LLC will maintain all contacts directly with the United States Department of Labor and the
United States of Citizenship and Immigration Services and other federal and state government agencies
necessary to complete and process the application, so that the Client can participate in the H-2A
program for the purpose of this agreement.

The Client agrees to pay timely any judgement or penalty entered against the Client and to indemnify
and hold harmless H-2Advisors, LLC from any liability or judgement arising out of the Clients violation of
its obligations and under applicable law or regulation (including, but not limited to, Title 20 of the Code
of Federal Regulations and all applicable parts therefore), the job order or the work agreement and any
attorney fees and costs incurred by H-2Advisors, LLC or other clients in defending against such claim.
The Client agrees to provide truthful information on all applications and statements to H-2Advisors, LLC
and any corresponding Federal Agency.

Client acknowledges that, due to the uncertainties arising from changing or subjective laws and political
situations, as well as economic and societal conditions outside the control of H-2Advisors, LLC, H-
2Advisors, LLC may be unable to complete or otherwise fulfill the requirements of Clients with respect
to either the number of workers to be provided by H-2Advisors, LLC and/or the time in which said
workers can be recruited.

Clients acknowledges that H-2Advisors, LLC are not engaged in rendering legal, accounting, or other
professional services. in giving advice H-2Advisors, LLC is only expressing their opinion and or experience
in a field. H-2Advisors, LLC believes most employers benefit from legal counsel; H-2Advisors, LLC
encourages the customer to retain a licensed professional for such.

The Client agrees to comply timely with all policies, procedures and schedules established by the H-
2Advisors, LLC., which it considers essential for compliance with the laws and regulations, successful
participation and for the proper operation of the H-2A program.

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H-2Advisors, LLC

The Client agrees to comply with all the terms and conditions of employment made by the H-2Advisors,
LLC., on the Clients behalf local job order. The Client agrees to familiarize themselves with the terms and
conditions of employment in the job order with all obligations imposed on the Client as an employer of
U.S. and/or H2A workers found in applicable law and regulations, including without limitations, those at
20CFR 655, Subpart B.

The Client authorizes and designates H-2Advisors, LLC to place required classified employment

advertisements as required by the United States Department of Labor on behalf of the Client so that the

Client may foliow Federal Regulation. The Client agrees that it is solely soliciting employees as required

by Federal Regulation and the Client has reviewed the required classified advertisement and approved
“of its content. | the Client, am soliciting employees for myself as required by Federal law.

The Client will interview candidates referred by SWA and will contact former U.S. workers. The Client
agrees to conduct any additional recruitment if directed by the Certifying Officer.

The Client agrees to pay all H-2A workers the required prevailing wages pursuant to applicable federal
and state laws, including but not limited to the regulatory requirements established by the United States
Department of Labor. Provide workers with written statements of the workers total earnings, hourly
rate, hours worked, and itemization of all deductions made from the worker’s wages.

The Client agrees to provide Workers compensation, pay for transportation to and from housing to
worksites. If the worker completes 50% of the contract the worker will be reimbursed their
transportation and other charges the worker incurred in traveling to the Client’s job site.

The Client agrees to employ H-2A workers only in those locations specified in the approved job order
(ETA-9142)

In entering this agreement, the Client acknowledges that neither Client nor anyone acting on Client's
behalf is relying on any representation or statement of-H-2Advisors, LLC or those acting on its behalf,
apart from the specific representations and commitments contained in this agreement.

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Rd. H-2Advisors, LLC
_GA 31516
Phone: . 7" GA:

Phone:
Fax:

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